Case 1:07-cv-00241-L-LDA   Document 37-7   Filed 11/02/2007   Page 1 of 3
    Case 1:07-cv-00241-L-LDA                 Document 37-7         Filed 11/02/2007            Page 2 of 3


187 F.3d 621                                                                                                 Page 1
187 F.3d 621, 1998 WL 1085773 (C.A.1 (N.H.))
(Cite as: 187 F.3d 621, 187 F.3d 621 (Table))


                                                           sort of judicial proceedings that warrant abstention,
Douglas v. New Hampshire Supreme Court                     as evidenced by the cases cited in the district court's
Professional Conduct Committee                             opinion. Plaintiff's argument to the contrary is
C.A.1 (N.H.),1998.                                         meritless. See, e.g., Wightman v. Texas Supreme
NOTICE: THIS IS AN UNPUBLISHED                             Court, 84 F.3d 188, 190-91 (5th Cir.1996) (applying
OPINION.(The Court's decision is referenced in a           Younger to disciplinary proceeding in its early
“Table of Decisions Without Reported Opinions”             stages), cert. denied,519 U.S. 1080, 117 S.Ct. 744,
appearing in the Federal Reporter. Use FI CTA1 Rule        136 L.Ed.2d 682 (1997); Fieger v. Thomas, 74 F.3d
36 for rules regarding the citation of unpublished         740, 746-49 (6th Cir.1996) (applying Younger where
opinions.)                                                 attorney could raise constitutional claims before state
    United States Court of Appeals, First Circuit.         bar disciplinary board and, via petition for mandamus
    Caroline G. DOUGLAS, Plaintiff-Appellant,              or petition for discretionary review, before state
                           v.                              supreme court); Brooks, 80 F.3d at 638 (applying
      NEW HAMPSHIRE SUPREME COURT                          Younger where, inter alia, state disciplinary
PROFESSIONAL CONDUCT COMMITTEE, et al.,                    proceeding was only in the “embryonic” stage).
                Defendants-Appellees.
                     No. 98-1198.                          The allegations in plaintiff's amended complaint are
                                                           also insufficient to state a claim within the “bad
                    Dec. 29, 1998.                         faith” exception to the Younger principle. See
                                                           Wightman, 84 F.3d at 190 (“[t]he bad faith exception
                                                           is narrow and is to be granted parsimoniously”);
Appeal from the United States District Court for the       Bettencourt v. Board of Registration in Medicine, 904
District of New Hampshire; Hon. Steven J.                  F.2d 772, 779 (1st Cir.1990) (similar). Plaintiff's
McAuliffe, U.S. District Judge.                            conclusory allegation that she was acting as a private
                                                           citizen is insufficient to suggest that the NHPCC
Caroline G. Douglas on brief pro se.                       acted in bad faith in opening its investigations. See
Philip T. McLaughlin, Attorney General and Daniel          Judge v. City of Lowell, --- F.3d ----, ---- (1st
J. Mullen, Senior Assistant Attorney General on brief      Cir.1998), 160 F.3d 67, 1998 WESTLAW 789187 at
for appellees.                                             *4 (“the element of illegal motive must be pleaded by
                                                           alleging specific non-conclusory facts from which
Before TORRUELLA, Chief Judge, CYR, Senior                 such a motive may reasonably be inferred, not merely
Circuit Judge, and BOUDIN, Circuit Judge.                  by generalized asseveration alone[ ]”); Collins v.
PER CURIAM.                                                County of Kendall, Illinois, 807 F.2d 95, 98 (7th
*1 Plaintiff Caroline Douglas appeals a district court     Cir.1986) (plaintiff asserting bad faith prosecution
judgment that dismissed her amended complaint for          must allege specific facts to support an inference of
declaratory and injunctive relief to enjoin the New        bad faith). Plaintiff's allegation that the NHPCC
Hampshire Supreme Court Professional Conduct               followed improper procedures in initiating the
Committee (NHPCC) from instituting disciplinary            September 15, 1997 complaint also fails to raise the
proceedings against her. The district court's dismissal    specter of bad faith, for plaintiff has failed to identify
order was based on the abstention principle                any rule that prohibited the opening of the complaint
enunciated in Younger v. Harris, 401 U.S. 37 (1971),       in the fashion alleged. We further cannot say that the
and extended to attorney disciplinary proceedings in       “Hewson complaint” described a scenario that was
Middlesex County Ethics Committee v. Garden State          patently beyond the NHPCC's jurisdiction, nor that
Bar Association, 457 U.S. 423, 102 S.Ct. 2515, 73          its docketing was a “manifest” example of bad
L.Ed.2d 116 (1982).                                        faith.FN1Finally, that the NHPCC failed to pursue a
                                                           number of complaints against plaintiff's ex-husband
Applying de novo review, see Brooks v. New                 is irrelevant to whether the complaints against
Hampshire Supreme Court, 80 F.3d 633, 638 (1st             plaintiff were opened in bad faith. See Mason v.
Cir.1996), we affirm. The allegations in plaintiff's       Departmental Disciplinary Committee, 894 F.2d 512,
amended complaint establish that the disciplinary          515 (2d Cir.1990) (allegation that professional
investigations commenced by the NHPCC are the              conduct board was at fault because it failed to


                           © 2007 Thomson/West. No Claim to Orig. U.S. Govt. Works.
    Case 1:07-cv-00241-L-LDA                 Document 37-7       Filed 11/02/2007     Page 3 of 3
187 F.3d 621                                                                                   Page 2
187 F.3d 621, 1998 WL 1085773 (C.A.1 (N.H.))
(Cite as: 187 F.3d 621, 187 F.3d 621 (Table))

adjudicate misconduct charges against others was
irrelevant to determining propriety of board's inquiry
into plaintiff).FN2 Finally, plaintiff's allegations
concerning the NHPCC's alleged bias in favor of
politically influential attorneys are too general to
overcome the presumption of integrity that we must
ascribe to the defendants. See, e.g., Hirsh v. Justices
of the Supreme Court of California, 67 F.3d 708, 713
(9th Cir.1995); Bettencourt, 904 F.2d at 780.


         FN1. The fact that two complaints were
         docketed in close proximity to each other,
         both of which remained unresolved at the
         time plaintiff filed her amended complaint,
         is not sufficient to suggest bad faith.

         FN2. We fail to see how the remarks
         plaintiff's ex-husband allegedly made
         concerning Judge Selya suggest a violation
         of Rule 8.2(a), nor how bad faith could be
         imputed to the NHPCC for not investigating
         this alleged conduct. Here, as in Fieger, 64
         F.3d at 750, plaintiff's allegations are
         insufficient to establish bad faith through
         selective prosecution.

*2 Affirmed.

C.A.1 (N.H.),1998.
Douglas v. New Hampshire Supreme Court
Professional Conduct Committee
187 F.3d 621, 1998 WL 1085773 (C.A.1 (N.H.))

END OF DOCUMENT




                           © 2007 Thomson/West. No Claim to Orig. U.S. Govt. Works.
